Case No. 1:10-cv-02713-REB-KMT Document 64 filed 04/01/11 USDC Colorado pg 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02713-REB-KMT


  DAVID L. HAMILTON, an individual,

                Plaintiff,
  v.

  EMERALD ISLE LENDING COMPANY, a Colorado corporation; GGBC INVESTMENT
  PROPERTIES, LLC, a Colorado limited liability company; STEPHEN P. GALLAGHER,
  individually; HOLLY A. COOK, individually; DAVID J. GOLDBERG, individually;
  MICHAEL J. BUSHELL, individually; and SCOTT L. CROSBIE, individually.

             Defendant(s).
  ___________________________________________________________________

   DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR SANCTIONS PURSUANT
       TO F.R.C.P. 11(b) AND REQUEST FOR ATTORNEYS’ FEES AND COSTS
  ___________________________________________________________________

         Defendants Emerald Isle Lending Company, a Colorado corporation (“Emerald”),

  GGBC Investment Properties, LLC, Stephen P. Gallagher, Holly A. Cook and Scott L.

  Crosbie, through their undersigned counsel, Hatch Halstead LLC, hereby submit the

  following Defendants’ Reply in Support of Motion for Sanctions Pursuant to F.R.C.P.

  11(b) and Request for Attorneys’ Fees and Costs.

         1.     Plaintiff’s primary argument in response to the Motion for Sanctions (the

  “Motion”) is that his deposition testimony taken in the Colorado State Court Case (the

  “Deposition”) related to different issues than the ones presented in this case and that

  additional discovery is needed to “prove up” the allegations of the Complaint.

         2.     As can be seen from a full review of the deposition transcripts cited by

  Defendants, Defendants’ counsel’s line of questioning during the Deposition were

  directly related to the allegations made by Plaintiff in his Complaint.


                                               1
Case No. 1:10-cv-02713-REB-KMT Document 64 filed 04/01/11 USDC Colorado pg 2 of 5




          3.   As explained in the Motion, the entire basis for Plaintiff’s claims 1-3 is that

  Defendant Gallagher “and/or his agents” allegedly misrepresented how the $175,000

  loan proceeds would be disbursed. See, e.g., ¶ 23 of Complaint (“Mr. Gallagher’s

  misrepresentations were material to Hamilton . . . borrowing $175,000 from Emerald”);

  see also, ¶ 24 (“At the time Mr. Gallagher made the misrepresentations, Mr. Gallagher

  either knew that the misrepresentations were false . . .”); see also, ¶ 29 of Complaint

  (“Mr. Gallagher and/or his agents, intentionally misrepresented to Hamilton that the

  purchase of the Lakewood Property from GGBC would require additional funds to pay

  contractors on the Lakewood Property.”) (emphasis added).

          4.   Therefore, to prevent the imposition of sanctions, Plaintiff must

  demonstrate that he had a reasonable factual basis for his allegation that “Mr. Gallagher

  and/or his agents” misrepresented how the loan proceeds would be disbursed. Here,

  Plaintiff cannot satisfy that standard because Plaintiff conceded during his deposition

  that Mr. Gallagher never made any representations to him in connection with the

  $175,000.00 loan. See, Deposition transcript cites contained in Motion.

          5.   In a self serving attempt to save his case, Plaintiff incredulously asserts

  that “Defendant Gallagher made certain misrepresentations long after the business

  relationship between Plaintiff, Ms. Walker and Mr. Roberts ended.” See, Response at

  p.3. However, the alleged misrepresentations before this Court relate solely to how the

  $175,000 loan proceeds would be disbursed. Moreover, Hamilton has admitted that

  Defendants never made any misrepresentations on how the loan proceeds would be

  used.




                                              2
Case No. 1:10-cv-02713-REB-KMT Document 64 filed 04/01/11 USDC Colorado pg 3 of 5




         6.     In fact, during the Deposition, Plaintiff admitted that it was not Defendants

  that made the alleged misrepresentations, but instead non-party Norma Walker. See

  Motion p. 5; see also, Deposition transcript, p. 123, ll. 18-25. Plaintiff also admitted that

  he knew this information at the time he filed the Complaint, therefore, establishing a

  violation of F.R.C.P. 11(b)(3). The undersigned is also attaching to this Reply as Exhibit

  1 a full copy of the Deposition transcript to demonstrate that none of the quotes were

  taken out of context. All of the quoted transcript cites relate to questions involving the

  very misrepresentation allegations asserted by Plaintiff in this case.

         7.     Next, Plaintiff cites a deposition transcript of Defendant Gallagher taken in

  an unrelated case. The deposition testimony only reflects that preliminary discussions

  involving the $175,000 loan originally related to Mr. Hamilton’s desire to acquire a

  Ferrari. This has no bearing on whether Plaintiff knew at the time he submitted this

  Complaint to the Court that Defendant Gallagher never made any promises, assurances

  or representations of any kind as to how the $175,000 loan proceeds would be

  disbursed. In fact, Plaintiff’s deposition testimony conclusively establishes that Plaintiff

  knew that Defendant Gallagher (or anyone associated with Defendant Gallagher, see,

  Motion at p. 4-5) did not make any representations and that Plaintiff never spoke with

  Defendant Gallagher regarding how the loan proceeds would be applied.

         8.     Plaintiff attempts to save his case by arguing that “additional discovery” is

  needed to “prove up” the allegations of the Complaint. However, Plaintiff does not

  identify what potential discovery could be had that would render his representations

  made to this Court truthful.    Plaintiff has already admitted that Defendants did not

  misrepresent anything as Defendants never told Plaintiff how the loan proceeds would




                                               3
Case No. 1:10-cv-02713-REB-KMT Document 64 filed 04/01/11 USDC Colorado pg 4 of 5




  be disbursed. Additional discovery will not change the fact that Defendants never made

  such representations and that Plaintiff has already admitted this fact.

         9.     This situation is precisely the type of scenario that this Court should

  impose sanctions against Plaintiff.    Not only has Plaintiff continued to forum shop

  throughout the country, bringing his claims in four separate courts, but the entire

  premise     of Plaintiff’s claims 1-3 are based on the knowingly false allegation that

  Defendant’s misrepresented how the $175,000 loan proceeds would be applied.

  Accordingly, Defendants request this Court enter an order awarding Defendants their

  reasonable attorneys’ fees and costs incurred in defending this litigation.

         Respectfully submitted this 1st day of April, 2011




                                                   HATCH HALSTEAD LLC



                                               By: /s/ Brian T. Ray
                                                   Robert W. Hatch, II, #16888
                                                   Brian T. Ray, #34914
                                                   Hatch Halstead LLC
                                                   730 Seventeenth St., Ste. 200
                                                   Denver, Colorado 80202
                                                   Phone: 303-298-1800
                                                   Facsimile: 303-298-1804
                                                   Email: bray@hatchlawyers.com

                                                   Attorneys for Defendants




                                               4
Case No. 1:10-cv-02713-REB-KMT Document 64 filed 04/01/11 USDC Colorado pg 5 of 5




                             CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing DEFENDANTS’
  REPLY IN SUPPORT OF MOTION FOR SANCTIONS PURSUANT TO F.R.C.P. 11(b)
  AND REQUEST FOR ATTORNEYS’ FEES AND COSTS was duly served this April 1,
  2011, to each of the following via USPS:

  David L. Hamilton
  P.O. Box 577452
  7423 River Nine Drive
  Modesto, CA 95357-7452
  Pro Se


                                                   /s/ Renae L. Friedrichs
                                                   Renae L. Friedrichs




                                         5
